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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division


LULA WILLIAMS, et al.,

                              Plaintiffs,

v.                                                  Civil Action No. 3:17-cv-461 (REP)

BIG PICTURE LOANS, LLC, et al.,

                              Defendants.



RENEE GALLOWAY, et al.,

                              Plaintiffs,

v.                                                  Civil Action No. 3:18-cv-406 (REP)

BIG PICTURE LOANS, LLC, et al.,

                              Defendants.



     MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION TO BAR TESTIMONY
         FROM DEFENDANT MATT MARTORELLO’S “EXPERTS” AT THE
                    MISREPRESENTATIONS HEARING.

        Plaintiffs, by and through counsel, submit this Memorandum in support of their Motion to

Bar Defendant Matt Martorello’s “Experts” from Testifying at the Misrepresentations Hearing

scheduled to start on July 21, 2020.1




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 In accordance with the Court’s stated preference, Plaintiffs have filed independent Motions to
exclude different witnesses on different grounds.
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         As this Court is aware, the Misrepresentations Hearing involves misrepresentations made

to the Court by Defendant Matt Martorello and the former tribal defendants regarding the

inception, operation, and restructuring of the lending scheme at issue in this litigation.

       On his witness list, Martorello has disclosed a total of 28 witnesses including seven

“expert” witnesses who lack first-hand knowledge regarding the lending scheme at issue.

(Williams v. Big Picture Loans, LLC, Case No. 17-cv-461 (E.D. Va.) (“Williams”) (ECF No. 765);

Galloway v. Big Picture Loans, LLC, Case No. 18-cv-406 (E.D. Va.) (“Galloway I”) (ECF No.

414.) These “experts” should be barred from testifying at the hearing. Their testimony and

opinions have no bearing on the issues at hand, and their testimony would be nothing more than a

waste of time. The fact that these witnesses are even included on Martorello’s witness list at all

demonstrates that Martorello views this hearing as another opportunity to force additional

discovery and motions practice to delay the ultimate resolution of this litigation. The Court should

not allow these witnesses to testify at this interlocutory hearing.

                                         BACKGROUND

       The Court is well aware of the background of this case and the reasons for the

Misrepresentations Hearing scheduled for July 21, 2020. On July 3, 2019, the Fourth Circuit

issued its decision in Williams v. Big Picture Loans, LLC, 929 F.3d 170 (4th Cir. 2019) finding

former Defendants Big Picture Loans, LLC and Ascension Technologies, LLC (the “Tribal

Defendants”) were arms-of-the-tribe entitled to assert sovereign immunity as a defense to suit for

damages. As this Court has summarized, “Plaintiffs assert that the record before the Fourth Circuit,

when making its decision . . . was based on misrepresentations of material fact made, inter alia,

by Martorello.” (Williams, ECF No. 673.) These misrepresentations were detailed in Plaintiffs’

Statement of Position Regarding Material Misrepresentations Made to the Court by Defendants in

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Support of Their Motions to Dismiss for Lack of Jurisdiction. (Galloway I, ECF No. 249.) “Many

of those asserted representations pertain to the findings that are asserted by Martorello to have

been made by the Fourth Circuit in its decision and that, according to Martorello, pertain to, and

preclude, the certification of a class.” (Williams, ECF No. 673.)

       Accordingly, on March 18, 2020, this Court ordered a one-day evidentiary hearing

(Williams, ECF No. 697). The Court stated “[a]t the conclusion of the hearing on June 5, 2020,

the Court will set a new schedule for the filing and briefing of an Amended Motion for Class

Certification. (Id.) On May 12, 2020, the Court reset the hearing to July 21, 2020, “continuing to

July 22, 2020 if necessary.” (Williams, ECF No. 730).

       On June 1, Plaintiffs’ filed Plaintiffs’ Statement of Position Regarding Material

Misrepresentations and Omissions Made to the Court with a replacement brief was filed on June

17, 2020. (Williams, ECF Nos. 784, Galloway I, ECF No. 432) (“Statement of Position”).

Plaintiff’s Statement of Position details the many misrepresentations made by Martorello and

various tribal witnesses regarding the genesis and operation of the lending scheme, the

restructuring and sale of Martorello’s business Bellicose Capital to the Tribe, and Martorello’s

involvement in the lending scheme subsequent to the sale. The Statement of Position was based

on documents and testimony from people with personal knowledge of the lending operation and

events involved with this case. No aspect of Plaintiffs’ Statement of Position relies on expert or

opinion testimony.

       On June 5, 2020, Martorello filed his witness list, identifying 11 “will call” witnesses and

16 “may call” witnesses. Of these “may call” witnesses, seven of the witnesses are Martorello’s




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purported “expert” witnesses.2 (Williams, ECF Nos. 765, Galloway I, ECF No. 414) Per their

expert reports, the expert witnesses will offer testify regarding the following:

    •   J. Howard Beales has opinions regarding the social utility of small dollar, high interest
        loans. (Ex.1.)

    •   Eric C. Henson has opinions “on the economic incentives faced by the LVD government
        and provide insight into why the Tribe made rational decisions to enter into the commercial
        relationships that have facilitated online lending on the Lac Vieux Desert reservation.” (Ex.
        2 at 4.)

    •   John M. Norman has opinions on the terms and sale of Bellicose to the Tribe “and related
        tax implications.” (Ex. 3 at 1).

    •   Richard E. Ross has opinions “regarding the customs, practices and standards in the finance
        and banking industry as it relates to small dollar installment loan consumer financing
        including but not limited to the various structures utilized by FinTech companies partnering
        with federally recognized Indian tribes.” (Ex. 4 at 1).

    •   Lawrence S. Roberts has opinions regarding federal law and the Tribe’s “freedom to
        contract.” (Ex. 5 at 4-5.)

    •   Lance Morgan has opinions whether it was “rational” for the Tribe to enter into the service
        Agreements with Bellicose and whether it was “rational” for the Tribe to purchase
        Bellicose. (Ex. 6 at 3.)

    •   Gregory Cowhey has opinions regarding his post-hoc evaluation of the fair market value
        of Bellicose, the promissory notes, and other combinations the lending scheme. (Ex. 7 at
        1-2.)


        None of these purported “experts” have any knowledge that would be at all relevant to the

issues to be addressed at the hearing regarding misrepresentations, and allowing their testimony

would only waste time. The Court should bar them from testifying.




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  At the appropriate time, Plaintiffs will seek an order barring all of these experts from testifying
under Fed. R. Civ. P. 26(a)(2), Fed. R. Civ. P. 37(c), Fed. R. Evid. 702, and Daubert v. Merrell
Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). This motion, however, seeks only to bar their
testimony at the evidentiary hearing under Fed. R. Evid. 701 and 703.
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                                             ARGUMENT

       “‘Relevant’ evidence ‘means evidence having any tendency to make the existence of any

fact that is of consequence to the determination of the action more probable or less probable than

it would be without the evidence.’” Smithfield Foods, Inc. v. United Food & Commercial Workers

Int'l Union, 586 F. Supp. 2d 632, 635 (E.D. Va. 2008) (quoting Fed. R. Evid. 401.) Evidence that

is not relevant is never admissible. Id. (citing Fed. R. Evid. 402.) Under Fed. R. Evid. 403, “[t]he

court may exclude relevant evidence if its probative value is substantially outweighed by a danger

of one or more of the following . . . undue delay, wasting time, or needlessly presenting cumulative

evidence.”

       The issues to be addressed at the evidentiary hearing are whether factual misrepresentations

were made to the Court and the Fourth Circuit regarding the genesis of the lending business, the

Tribe’s role in the lending operations, the reason for the sale of Martorello’s company to the Tribe,

and Martorello’s continued involvement in the scheme. Martorello expert witnesses have no

personal knowledge regarding any of these issues.

       This hearing involves what was represented to this Court and the Fourth Circuit and what

happened in reality. These witnesses have nothing to say on those issues. The hearing does not

involve issues regarding the social utility of high-interest online loans set forth in Howard Beales’s

report, nor does it involve generalized issues involving the small dollar lending industry and

Fintech as Robert Ross opines. The Misrepresentations Hearing also does not concern federal

policies allowing for Tribes to hire servicing companies which is the subject of Lawrence Roberts’

testimony, the “rationality” of the Tribe in contracting with Bellicose and purchasing Martorello’s

company as set forth by Lance Morgan, John Norman’s opinions regarding the tax implications,

or the economic incentives of Native American tribes in the views of Eric Henson.



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        The closest that any of these witnesses has to relevant testimony is Gregory Cowhey’s

valuations of Bellicose and other aspects of the lending scheme. To be sure, Plaintiff’s Statement

of Position does discuss value of Bellicose at the time of its sale to the Tribe. (Statement of

Position at 42-46.) But Plaintiff’s Statement of Position involves emails written by Martorello

during negotiations regarding the value of Bellicose to show that the Tribal Defendants had

misrepresented the value of Bellicose. Gregory Cowhey’s post-hoc evaluations of fair market

value have no bearing on whether Martorello or the Tribal Defendants misrepresented the

valuation of Bellicose at the time of the its sale to the Tribe.

        Even if some of this expert testimony were relevant to the issues to be addressed at the

hearing, such testimony would only result in undue delay and wasting time. This is a one or two

day hearing. It is not a full trial on the merits. No expert testimony is warranted.

                                           CONCLUSION

        For all of the above reasons, Martorello’s “experts” should not be permitted to testify at

the Misrepresentations Hearing.


Date: June 22, 2020                                            /s/
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                                              Attorneys for Plaintiffs and Proposed Classes


                                CERTIFICATE OF SERVICE

       I hereby certify that on June 22, 2020, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system, which will then send a notification of such filing (NEF) to all

counsel of record.

                                                              /s/
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